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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
    In re:
                                                                   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1
                                                                   (Jointly Administered)
                              Debtors.



                                         AFFIDAVIT OF SERVICE

       I, Amy Castillo, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On July 23, 2024, at my direction and under my supervision, employees of Kroll caused
the following document to be served by the method set forth on the Core/2002 Service List attached
hereto as Exhibit A:

        Fifth Consolidated Monthly and Fifth Interim Application of the Fee Examiner and
         Godfrey & Kahn, S.C., Counsel to the Fee Examiner for Allowance of Compensation for
         Services Rendered and Reimbursement of Expenses for the Period from February 1, 2024,
         through April 30, 2024 [Docket No. 21159]

Dated: July 26, 2024
                                                                          /s/ Amy Castillo
                                                                          Amy Castillo
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on July 26, 2024, by Amy Castillo, proved to me on the
bases of satisfactory evidence to be the person who executed this affidavit.

/s/ PAUL PULLO
Notary Public, State of New York
No. 01PU6231078
Qualified in Nassau County
Commission Expires November 15, 2026

1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.


                                                                                                         SRF 81005
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                        Exhibit A
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                                                                                                                                                              Exhibit A
                                                                                                                                                        Core/2002 Service List
                                                                                                                                                       Served as set forth below



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                                                                                                                                                         Exhibit A
                                                                                                                                                   Core/2002 Service List
                                                                                                                                                  Served as set forth below



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            In re: FTX Trading Ltd., et al.
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                                                 DESCRIPTION                                                                        NAME                                                  ADDRESS                                                                EMAIL      METHOD OF SERVICE

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                                              DESCRIPTION                                   NAME                                                        ADDRESS                                                       EMAIL            METHOD OF SERVICE

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                                                                                                                                                            Core/2002 Service List
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